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                                 UM TED STATES DISTRICT CO URT
                                 SOU TH ERN DISTRICT OF FLO RD A

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                           .
                                CASE NO.18-20710-CR-M wTONAGA(s)(s)
    UM TED STA TES OF AM ER ICA

    vj.

    JOH N SCH O LTES,

              Defendant.
          .                                 /

                                       FA CTVAL PROFFXR
              TheofsceoftheUnited StatesA ttorney forthe Southem DistrictofFloridaand tiie

    DefendantJohnScholtes(sr efendanf')stipulateandagreethatthefollowingfactsaretrue
    andcorrectandthatsuch factsprovideasufficientfactualbasisforapleaofguilty to Cotmt

    1 and Count39 ofthe Second Superseding Indictm ent,which counts charge Defendant

    w ith conspiracy to comm ithealth carefraud,in violation ofTitle 18,United States Code,

    Section 1349,and conspiracy to defraud the United Stutes and to receive health cjm

    ldckbacks,in violatipn ofTitle 18,United States Code,Section 3.
                                                                  71.

              Begirm ing in oraround January of2015,and continuing through in oraround July

    of2015,Defendant conspired and agreed with SenthilRamamurthy ttçlkamamurthy''l,
    M thony M auzy (:GM at1zy''),Thomas Sahs(GCSahs'') Rajesh M ahbubanitGtM ahbubani''l
    M angalaRammnurthy ((çDr.Ramamurthy''),AsifUddin (&çUddin''),JenniferJohn Carbon
    and others to comm it health care fraud through the subm ission of false and fraudulent

    claim sto theTricare program .Tricare is a federalhealth care benefitprograp affecting
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    commerce,asdefmedinTitle18,UnitedStatesCode,Section24(b),thatprovidescivilian
    health benefits for m ilitary persorm el,m ilitary retirees, and m ilitary dependents. The

    schemeirwolvebthesubmission offalseandfraudulentclaims(includingthoseclaimsset
    forthin counts2-9)to Tricareforexpensiveandmedically urmecessarypain creams,scar
    cream sand am ulti-vitnm inswlaich w erebilledthrough Pharm acy 1,Pharmacy 2 ahd other

    pharmacies.Pharm acy 1 was a compounding phanmacy in the M iddle DistrictofFlorida.

    Pharm acy 2 w asa compounding pharm acy located in theN orthern DistrictofOldahom a.

    Defendantw as the ow nerofEM ET A dvisors,lnc.a Florida com pany with itsprincipal

    place ofbusiness irlBoca Raton,Florida. Ram amudhy wasthe owner of SKR Services

    andVenturesLLC,(SKR)aFloridacompanywith itsprincipalplaceofbusinessinM inmi,
    Florida. D efendant and Ram amurthy negotiated an agreem ent w ith
                                                                                                 y.    ,'
                                                                          .
                                                                                                      /
                                                                                                      I
    Phnrmacy2wherebySKR collectivelyreceivedapproximately50% ofthereimbursements (i
    (lessamodestcostofgoodssold)from Tricarèforeveryprescriptionreferral.
          During the conspiracy,SKR received approxim ately $3.4 m illion in kickbacksin
    exchu ge for refening Tricare prescriptions fornum erous beneficiariesto Phnrm ades 1

    and2.Throughoutthe conspiracy,Ram amurthy,through SK R.paidhundredsofthousands

    ofdollarsin kickbacks(includingt,
                                    hosekickback paymeùtssetforth i.
                                                                   n cotmts12,14,17,
    19,21-22,and24)to co-conspiratorsM auzy,Sahs,andM ahbubanieitherindividually or
    tbrough their company M E'
                             IQ Ventures LLC. SKR paid an additional $283,000 in
    kickbacksto co-conspiratorUddin (includingthosekickback paymentssetforth in cotmts
    25-26,'30 arld 35). Those co-conspirators in ttm'
                                                    lpaid (Csales reps''to targetTricare
    beneficiaries.The salesreps induced Tricc ebeneficiariesto Ctsign up''forthe expensive
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    drugs w ithout regard to any legitim ate m edical need and often tim es based on false

    representationsandm aterialom issionsincluding,by way ofexample,claim sthatthedrugs

    w ere custom designed for the patient. In fact,the prescription formulations w ere not
                                                                               '
                    ,

    custom ized for individuals'specific m edicalneeds but developed to generate increased

    revenue from Tricare. Based on the claim s subm itted in tllis case,Tricare reimbursed

    Phnrmacies 1 and 2 thousands of dollars a m onth for a single compounded m edication

    product.Forexam ple,assetforth in cotmt4,Tricarereim bursedthe approxim ate am otmt

    of$23,790foraonemonth supply ofscarcream. Based on thesereferralsTricarepaid

    claimstoPharmacies1and2iritheapproximatesum of$6,314,170.

          Afterobtaining thebeneficiaries'information,Defendantand his co-consjirators
    routed the beneficiary inform ation and a pre-printed prescription to a telem edicine

    company forratification and paid between approximately $75 and $90perconsultation,
    forprescriptionsratified by thetelem edicine com pnnies.Often tim es,asin the caseofDr.

    Ram am M hy who ratifiedprescriptions,orCarbon,who forgedthenam eofadoctortm der

    herem ploy,thedoctornevereven exam inedthepatient.D efendantandhisco-conspirators

    alsopaid thesalesrepsaldckback ofapproxhuately $350to $500 forevery prescription

    thatthey inducedandthatwasadjudicatedby Tricare.
          Dtu-ing the course ofthis charged conspiracy,D efendantreceived approxim ately

    $447,000 (including those ldckback payments setforth in cotmts 15-16,and 28),*in
    ldckbacksin exchangefornmong otherthings:(1)disseminatingpre-printedprescription
    pads containhg form ulations for com pounded m edications devised for m axim llm
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       reimbursementand notforany individual'smedicalneed;and (2)negotiating contracts
       with telelhedicinecompanies.

              In oraboutthefallof2014,theD efendantintroduced co-conspiratorsRam am urthy

       and Carbon to one another. During the course of this conspiracy, other charged co-

       conspiratorsused falsepretensesto gain accessto U .S.m ilitary baseswherethey targeted

       Tricarebeneficiaries.On m ultipleoccasionsthroughouttheconspiracy theD efendantand

       other charged co-conspirators, sent pre-printed prescription pads to telem edicine

       companiesdirecting those com panieswhereto send patients.
                                   /
             A fterTricaresignificantly curtailed itsreim burgem entforcompounded m edications
                   ,




       in approxim ately June,2015 the D efendant,Ram amprthy Sahs,M auzy and M ahbubani
   J                                   .
       identifiedandpursuedapotentialnew schemeintheform oftargetinjhealth careprogrnms
       witllinsurancebenetitsforCancerGenomictests(C(CGx''). Beginning in oraround July
       of2016through atleastD ecemberof2017,Defendant,Ram am urthy,Dr.Ram am urthy and

       othersconspired to defraudtheUnited Statesand toreceivehealth careldckbackstr geting

       M edicarebeneficiadesto receive expensive CGx testing from Laboratory 1located in the

       N odhel'
              n D istrict of Georgia.CGx testing is a llighly com plex and specialized type of

       genetictestdesir ed to look for errorsin genesthatare associated with cancer.M edicare

       authorizes paym ent for m edically necessary CGx testing only when prescribed by the

       patient's'treating physician for the pup ose of m anaging the patient's specific m edical

       condition,andthepatienthasa cancerdiagnosisorapersonalhistol'y ofcancer.M edicare

       isa health carebenefitprogram affecting com m erce,asdefm ed by Title 18,United States
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    Code,Srction 24(b),and aFederalhealth carçprogrnm,as defined by Title 42,United
    StatesCode,Section 1320a-7b(9.
             A spartbf this schem e,D efendant and co-conspirator Ram am urthy negotiated a

    ldclcbackarrangementwithLaboratory 1wherethe1abagreedtopay45% (minusamodest
    We-negotiatedcostofgoodssold)oftheamountreimbursebtoLaboratory 1byMedicare
    for each CGx testreferred by Ramamûrthy's company,Q Health Services,LLC.(çCQ
    Health''l.
             J.
              n fartheranceoftheschem e,hisco-conspiratorstargeted locationswhereM edicare

    and M edicaidpatientsw ere knoWn to bein lligh concentration such as,forexample,adult

    day careand seniorliving centersandhealth fairs.Ramamurthy through Q Health,paid
    fçm arketers''to go to these locations and collect DNA saliva sam ples from M edicare

    beneficiaries. Aspartofthisschem e,Rnm am urthy recnzited the services ofDr.M angala

   R nm nm urthy,to ratify orders for CGx tests forpatients she had no valid doctor-patient

    relationsM p w ith. In all,Laboratory 1 paid kickbacks to his co-conspirators totaling

    approxim ately $1,527,590 fornllm erousM edicarereferrals dm ing the conspiracy.Based

    onthesereferrals,M edicarepaidLaboratory 1approximately$3,322,006.
             ln furtheranceofthisconspiracy,Scholtese-m ailed the CEO ofLaboratory 1on or

    about July 27, 2016 from the Southern D istrict of Florida to the N ozthern D istrict of

    Georgia,negotiating the percentage to be paid foreach CGx refen-alQ Hea1th sentto
   Laboratory 1.On oraboutSeptem ber22,2016,Dr.R am am udhy com pleted andsubm itled

    to Laboratory 1,a Provider's Preferred OrderForm and provider authorization. On or
         .                                                            t


    about N ovem b.er 16, 2016 and D ecem ber 14, 2016, respectively, co-conspirator Dr.
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    Ram am urthy signed requisition form s ordering CGx testing forM edicare patients M .M .

    andA.C.Laboratory 1paidQ Healthakickback intheapproximatesum of$74,217on or
    aboutFebrual'y 1,2017,and this am otmtincluded apam entforthe referralofM
                                                                            /
                                                                              edicare

    patientA .C. On oraboutFebruaty 20,2017,in responseto concem s about1ow M edicaid

    reimbursementforCGx samplesreferredby Q Health,Defendantsentan e-m ailfrom the
    Southern District of Florida to a principalof Laboratory 1 in the N orthel'
                                                                              n Diskict of

    Georgiaregarding aSCCGX Org.Calltoreview protocolsand reim bursem ents.''In addition,

    Defendantsenttextm essagesto oneorm oreem ployeesofLaboratory 1 on oraboutApril

    17,2017,M ay 1,2017 and M ay 15,2017regarding receiptofpaym entfrom Laboratory 1
                                        .




    in exchangeforQ Health'sreferralsofcompleted CGx samples.
          The defendantadm itsthatin oraboutlate2018through in or aboutearly 2019,he

    also participated in a sim ilar schem e to defraud M edicare by receiving approxim ately
    $250,303 in kickbacksand bribesin exchange forrefening CGx snm plesto Spec(
                                                                              trllm and

    M etic laboratories.

          Theforegoing factsdo notdescribea11thedetailsoftheconspiracies,orD efendant's
                                                        .




    completeknow ledgeofthe schem e,butare offered forthelim itedptuposeofestablishing
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    a sufficientfact'ualbasisto supportD efendant'spleaofgt
                                                          zilty to thechargesofconspiracy

    to defraud tlieUnited Statesand to receivehealth carekickbacks.

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                                            UNITED ST Eh                      ORNEY
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